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                     UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF NEW YORK


TAWFEEQ ALMOAYED BUILDING CO.,
W.L.L. and ABDULLA ALMOAYED,
                                                         Case No. 21-cv-01989-KPF
               Plaintiffs,

       v.

SITE DEVELOPMENT GROUP, INC.,

               Defendant.


                        STIPULATED ORDER OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a) and the stipulation of the parties, as evidenced

by their signatures hereto,

       IT IS HEREBY ORDERED that the claims asserted by Plaintiffs against

Defendant (collectively, the “Parties”) in this matter are dismissed without prejudice to

reopening if Defendant does not comply with the terms of the Confidential Settlement

Agreement and Release (the “Settlement Agreement”) entered into among the parties and

dated September 7, 2021.

       In connection with any disputes arising from or relating to the Settlement

Agreement or the Stipulated Order of Dismissal, the Parties agree that this Court retains

jurisdiction to enforce the terms of the Settlement Agreement.




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